T.R. Benedict made application to the Public Utilities Commission under sec. 59-803, I. C. A., for a permit to operate motor propelled freight service between Idaho Falls, Idaho, and Salmon, Idaho. The application was contested by the Oregon Short Line Railroad Company, the Pioneer Garage Stages and the Gilmore and Pittsburg Railroad Company. December 30, 1931, the Public Utilities Commission entered an order granting a permit. Then followed an application for a rehearing and an order granting that application. Upon rehearing an order was entered June 17, 1932, approving and affirming the order entered December 30, 1931, granting the permit. The Pioneer Garage Stages and the Gillmore and Pittsburg Railroad Company appealed to this court from those orders.
Respondent Benedict moves to dismiss the appeal upon the ground that it was not perfected in accordance with the provisions of sec. 59-620, I. C. A., and rule 30 of this court, in that the transcript on appeal was not transmitted to the clerk of this court or filed by him within the time designated by rule 30 of this court, to wit, "within 90 days after the service of notice of appeal with the Commission." *Page 210 
The respondent having failed to accompany his motion to dismiss the appeal with a certificate, making the showing required by rule 27, of this court, the said motion will not be considered and is, therefore, denied.
The law applicable to In re Garrett Transfer  Storage Co.,ante, p. 200, 23 P.2d 739, argued and submitted at this term, is decisive of this case. Upon the authority of the opinion in that case the order of the Public Utilities Commission granting the respondent a permit to operate motor propelled freight service between Idaho Falls, Idaho, and Salmon, Idaho, and the order of the commission entered upon rehearing approving and affirming the order granting the permit, are affirmed.
Costs to respondent.
Budge, C.J., and Givens, Morgan and Wernette, JJ., concur.
                   ON PETITION FOR REHEARING.                        (July 12, 1933.)